           Case 1:17-cv-00845-MBH Document 6 Filed 06/30/17 Page 1 of 1


                             OREG![\!At
           lln tW @nftr! $ltafts @surt of fpltrsl                      @luftns
   :1.   :* * * * * * * * * * * * * * * **
                                                                                   FILED
  PATRICIA KIDD,
                                                                                 JUti 3 0   2017
                        Plaintiff,
                                                                                U.S. COURT OF
               v,                                    No. 17-845                FEDEML CLAIMS
                                                     Fifed: June 30,2017
  UNITED STATES,
                        Defendant.
   t *,t     *,* * r' '1. {' * r':t:} *,f   {' *:*

                                             ORDER
       The court is in receipt of pro se plaintiffs submission to the United States Court of
Federal Claims on June 19,2017. Attached to the submission is plaintiffs application to
proceed in forma pauperis, which does not contain sufficient information for the court to
evaluate plaintiff's application or to grant or deny plaintiff's application. On plaintiffs
application, other than stating that plaintiff is not incarcerated, in response to the
remaining questions plaintiff has hand-written "tbd," which the court interprets as "to be
determined," and the words "tolls Retro" in response to the question concerning any
individuals who depend on her for support. Given that pro se plaintiff in the above-
captioned case has failed to pay the $400.00 filing fee or to submit a completed
application to proceed in forma pauperis, the above-captioned case is DISMISSED,
without prejudice.

          IT IS SO ORDERED.


                                                        MARIAN BLANK HORN
                                                               Judge
